

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,487






EX PARTE BRANDI EDWARDS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 20023-A IN THE 336TH DISTRICT COURT


FROM FANNIN COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of one count of
aggravated sexual assault of a child, sentenced to 60 years', and one count of indecency with a child
and sentenced to twenty years' imprisonment. 

	Applicant contends that her counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  We remanded this application to the trial court for findings of fact and
conclusions of law.

	The trial court has determined that trial counsel failed to timely file a notice of appeal.  We
agree.  We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal
of the judgment of conviction in Cause No. 20023-A from the 336th  Judicial District Court of Fannin
County.  Applicant is ordered returned to that time at which she may give a written notice of appeal
so that she may then, with the aid of counsel, obtain a meaningful appeal.  All time limits shall be
calculated as if the sentence had been imposed on the date on which the mandate of this Court issues. 
We hold that, should Applicant desire to prosecute an appeal, she must take affirmative steps to file
a written notice of appeal in the trial court within 30 days after the mandate of this Court issues.


Delivered: February 2, 2011

Do Not Publish


